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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

Helen So
Write the full name of each plaintiff. CV
{Include case number if one has been
assigned}
-against- a9
Corporation for Supportive Housing Po you want a jury trial? .
Yes No ve ES
Joy Granado 2 oe

 

Write the full name of each defendant. The names listed
above must be identical to those contained in Section |,

EMPLOYMENT DISCRIMINATION COMPLAINT

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed with
the court should therefore not contain: an individual’s full social security number or full birth
date; the full name of a person known to be a minor; or a complete financial account number. A
filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number. See Federal Rule
of Civil Procedure 5.2.

 

 

Rev. 3/24/27
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I, PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

Helen So

 

First Name Middle Initial Last Name

117 Birch Road

 

 

 

 

Street Address

Staten Island, NY 10303
County, City State Zip Code
(917)657-3762 hso16888 @ymail.com

Telephone Number Email Address (if available}

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. (Proper defendants under employment discrimination statutes are usually employers,
labor organizations, or employment agencies.) Attach additional pages if needed.

Defendant 1: Corporation for Supportive Housing

 

Name
61 Broadway, Suite 2300

 

Address where defendant may be served

 

 

New York, NY 10006

County, City State Zip Code
Defendant 2: Joy Granado

Name

61 Broadway, Suite 2300

 

Address where defendant may be served

New York, NY 10006

 

County, City State Zip Code

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Defendant 3:

 

Name

 

Address where defendant may be served

 

County, City State Zip Code

i. PLACE OF EMPLOYMENT

The address at which | was employed or sought employment by the defendant(s) is:
Corporation for Supportive Housing

 

Name
61 Broadway, Suite 2300

 

 

Address
New York, NY 10006
County, City State Zip Code

Il. CAUSE OF ACTION

A. Federal Claims
This employment discrimination lawsuit is brought under (check oniy the options below
that apply in your case):

(l Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e to 2000e-17, for
employment discrimination on the basis of race, color, religion, sex, or national
origin

The defendant discriminated against me because of my (check only those that
apply and explain}:

Cl race:

 

color:

 

religion:

 

SOx?

 

OO OF OO

national origin:

 

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C} 42U.S.C. § 1981, for intentional employment discrimination on the basis of race

My race is:

 

Age Discrimination in Employment Act of 1967, 29 U.S.C. §§ 621 to 634, for
employment discrimination on the basis of age (40 or older)

1
I was born in the year: 96

LJ Rehabilitation Act of 1973, 29 U.S.C. §§ 701 to 796, for employment
discrimination on the basis of a disability by an employer that constitutes a
program or activity receiving federal financial assistance

My disability or perceived disability is:

 

(| Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12101 to 12213, for
employment discrimination on the basis of a disability

My disability or perceived disability is:

 

[] Family and Medical Leave Act of 1993, 29 U.S.C. §§ 2601 to 2654, for
employment discrimination on the basis of leave for qualified medical or family
reasons

B. Other Claims
In addition to my federal claims listed above, 1 assert claims under:

New York State Human Rights Law, N.Y. Exec. Law §§ 290 to 297, for
employment discrimination on the basis of age, race, creed, color, national
origin, sexual orientation, military status, sex, disability, predisposing genetic
characteristics, marital status

¥] New York City Human Rights Law, N.Y. City Admin. Code §§ 8-101 to 131, for
employment discrimination on the basis of actual or perceived age, race, creed,
color, national origin, gender, disability, marital status, partnership status,
sexual orientation, alienage, citizenship status

(| Other (may include other relevant federal, state, city, or county law):

 

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IV. STATEMENT OF CLAIM

A. Adverse Employment Action

The defendant or defendants in this case took the following adverse employment
actions against me (check only those that apply):

[ did not hire me

terminated my employment [(opshvehve Tey” ch ov)

(]

did not promote me

did not accommodate my disability

MO O fF

provided me with terms and conditions of employment different from those of
similar employees

O

retaliated against me

x]

harassed me or created a hostile work environment

Li other (specify):

 

 

B. Facts

State here the facts that suppert your claim. Attach additional pages if needed. You should
explain what actions defendants took {or failed to take} because of your protected
characteristic, such as your race, disability, age, or religion. Include times and locations, if
possible. State whether defendants are continuing to commit these acts against you.

See attached.

 

 

 

 

 

 

As additional support for your claim, you may attach any charge of discrimination that you filed
with the U.S. Equal Employment Opportunity Commission, the New York State Division of
Human Rights, the New York City Commission on Human Rights, or any other government
agency.

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V. ADMINISTRATIVE PROCEDURES

For most claims under the federal employment discrimination statutes, before filing a lawsuit,
you must first file a charge with the U.S. Equal Employment Opportunity Commission (EEOC)
and receive a Notice of Right to Sue.

Did you file a charge of discrimination against the defendant(s) with the EEOC or any
other government agency?

Yes (Please attach a copy of the charge to this complaint.)

When did you file your charge? duly 6, 2016

 

tL] No
Have you received a Notice of Right to Sue from the EEOC?
Yes (Please attach a copy of the Notice of Right to Sue.)

 

 

What is the date on the Notice? May 3, 2017
When did you receive the Notice? May 11, 2017
CL] No
VIL RELIEF

The relief | want the court to order is (check only those that apply):
(1 direct the defendant to hire me

direct the defendant to re-employ me

direct the defendant to promote me

direct the defendant to reasonably accommodate my religion

fh OF OF

direct the defendant to reasonably accommodate my disability

§]

direct the defendant to (specify) (if you believe you are entitled to money

damages, explain that here)
pay front pay, back pay, benefits, damages for pain and suffering

 

 

 

 

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VIL = =PLAINTIFE’S CERTIFICATION

By signing below, I certify to the best of my knowledge, information, and belief that:

(1) the complaint is not being presented for an improper purpose (such as to harass,
cause unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are
supported by existing law or by a nonfrivolous argument to change existing law; (3) the
factual contentions have evidentiary support or, if specifically so identified, will likely
have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Federal
Rule of Civil Procedure 11.

Tagree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking ta
proceed without prepayment of fees, each plaintiff must also submit an {FP application,

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Dated Plaintiff’s Signature

Helen So

First Name Middle Initial Last Name
117 Birch Road

Street Address

Staten island, NY 10303
County, City State Zip Code
(917)657-3762 ° hso16888 @ymail.com
Telephone Number Email Address (if available)

Ihave read the attached Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
Yes No

if you do consent to receive documents electronically, submit the completed form with your
complaint. if you do not consent, please do not attach the form.

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FACTS

. Helen So worked at Corporation for Supportive Housing from February 17", 2010 to
August 2", 2016.

. So was an accountant and her job description included analyzing financial data,
managing contracts/grants and budgeting financial reports.

. On March 1°, 2011, So was promoted as the Manager of Financial Reporting &
Budgeting when previous manager, Armine Arustamyan left.

. On April 25h 2011, Joy Granado was hired as the Controller and So’s supervisor.

. On June 27", 2011, Granado hired Deepa Kublal as the Senior Accountant. Kublai joined
So on the financial team as a fellow colleague.

. On January 6", 2014, Granado changed So’s job title from Manager to Budget &
Financial Reporting Analyst. As a result, So’s salary decreased.

. Granado exhibited discriminatory animus against older individuals, specifically against
So.

, So's date of birth is June 18", 1956.

. During a staff retreat dinner on June 8", 2015, Ms. So was sitting at a table with Granado,
Kublal, and three other employees. Granado turned to Betsy Bentio, the Director for the
Ullinois office, and said, “there is one person here in my department who is older than
me.” Joy continued to repeat her statement to Betsy as if she wanted Betsy to guess.
Betsy looked at So. This embarrassed So and singled her out. It was evident that So was
the oldest because the rest of the employees at the table were in their thirties. So was 59

years of age at the time of the staff retreat dinner.
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On November 16", 2015, So and Kublal was in Granado’s office. After Kublal left the
office, Granado told So that she would be giving work to Kublal instead of So because
Kublal was younger.

As a result of the discriminatory animus toward older individuals, Granado discriminated
against So, subjecting her to adverse employment events.

Granado treated Ms. So’s requests for time off differently and less favorably than she
ireated younger employees requests for time off.

In April 2016, So asked for time off of work for back and neck pain. Granado required So
to go through a long process to take time off. However, Granado did not require any other
employees, all of whom were in their thirties, to go through a process to take time off
from work. Other employees, who were younger, merely had to place their name on the
work calendar. Granado unreasonably required Ms. So to go through a process to get time
off that was not required of other, younger employees, due to Ms. Granado’s
discriminatory animus for older individuals.

An additional account, Granado also required Ms. So to do more work than other,
younger employees.

On May 6, 2016, Granado sent So and Kublal an email stating that starting July 1°, 2016,
the Ohio account would become Ms. So’s responsibility.

On May 8'", 2016, So did an analysis and emailed Ms. Granado stating that as a result of
adding the Ohio account, her workload would be unreasonable and the work would not
be distributed evenly. Ms. So would have over 41 grants and 29 contracts where Kublal

would only have 25 grants and16 contracts.
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On May 8"", 2016, So also emailed human resources explaining the unreasonable amount
of work assigned to her

On May 9"", 2016, Granado replied to So’s email stating that her analysis shows So
having the least amount of revenue and approximately the same number of projects as the
other analysts.

On May 10", 2016, So replied to Granado’s email stating that the amount of work cannot
be based on revenue but should be based on the number of contracts/grants assigned to
each analyst because more work is required when dealing when contracts. The amount of
revenue coming in should not be a factor when analyzing the amount of work assigned.
So also explained that the numbers got shifted on the excel spread sheet when Granado
did her analysis. As a result, her analysis was wrong.

Granado unreasonably gave So more work than Kublal, due to Granado’s animus for
older individuals. Kublal was in her 30’s. Granado was setting So up to fail. It would be
impossible to do all the work effectively and timely.

As a result of Granado’s treatment toward So, So became highly stressed and began to
have suicidal thoughts. The Doctor diagnosed her as having depression, anxiety, and
PTSD. So was prescribed medication. So continues to take medication and attend bi-
weekly visits to both a doctor and a therapist.

In May 2016, human resources began to conduct an investigation on So’s age and race
discrimination claims. Human resources conducted interviews with employees from May
12", 2016 through May 25", 2016. However, Kublal was never interviewed because she
was on vacation during the investigation. Kuplal was one of the few employees who

knew about Granado’s mistreatment of So.
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23. On May 26", 2016, human resources concluded that nothing was found in support of
So’s discrimination claims.

24, Around June 2016, in an effort to assist So and Granado to work together productively,
human resources began to require So to attend weekly meetings with Granado to provide
Granado with updates on her projects, with Ethel Coffinas, the director of human
resources, in attendance. The meetings made So feel uncomfortable because no other
employee had to attended such meetings.

25. At the end of July 2016, So’s physician told So to take time off of work due to her
depression, anxiety, and PTSD.

26. On August 2°, 2016, Coffinas called So into her office to discuss So’s doctors note and
her experience with Granado. August 2"4, 2016 was So’s last day of work because So
could no longer handle Granado’s terrible treatment toward her. Granado’s mistreatment

of So constituted constructive termination,
   

 

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U.S, EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

New York District Office
33 Whitehall Street, 5" Floor
New York, NY 10004-2112
For General Information: (800) 669-4000
. TTY: (800)-669-6820
Patrick Sanford District Office: (212) 336-3620

Federal Investigator ,
Phone (212) 336-3677 General FAX: (212) 336-3625

Fax (212) 336-3624
July 11, 2016

Via U.S, Mail

Helen So
447 Birch Road
Staten Island, NY 10303

Re: Helen So v. Corporation for Supportive Housing
EEOC Charge No. : 520-2016-02257

Dear Ms. So:

The United States Equal Employment Opportunity Commission (“EEOC” or “Commission”) has
received the Charge of Discrimination (“Charge) that you have filed with the EEOC against
Corporation for Supportive Housing (“Respondent”). Based upon the information you have
submitted, the Commission has decided to continue its investigation of your allegations of
amployment discrimination.

in order to move forward with our investigation, the EEOC has mailed a copy of your Charge to
the Respondent and we have requested that it submit a written response (“Position Statement”)
to your allegations of employment discrimination to the Commission.

Once the Position Statement has been received and analyzed by the EEOC, a copy of the
Position Statement will be mailed to you by the Commission to give you the chance to see what
information/documents the Respondent submitted to the EEOC in response fo your Charge.
The Commission will then give you an opportunity to submit a written rebuttal to the
Respondent's Position Statement to the EEOC.

if you have not received a copy of Respondent's Position Statement from the Commission by
September 7, 2016, please contact me regarding the status of the EEOC’'s investigation of your
Charge. My e-mail address is Patrick.Sanford@eeoc.gov.

Sincerely,

atrick Sanford
Federal Investigator
 

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5 (41108)
CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies} Charge No(s}:
‘This form Is affected by the Privacy Act of 1974. See enclosed Privacy Act
Statement and other information before completing this form. | | FEPA 520-20 1 6-022 57
EEOC
New York State Division of Human Rights and EEOC
. State or local Agency, if any
Name {indicate Mr. Ms., Mrs.) Home Phone (inal. Area Code) Date of Birth
Ms. Helen So 718-698-5933 06-18-1956
Streat Address City, State and ZIP Cads

417 Birch Road, Staten Island, NY 10303

Narnad is the Employer, Labor Organization, Ernployment Agency, Apprenticeship Committee, or State or Local Government Agency That | Bellave
Discriminated Against Me or Others. (/f more than two, listunder PARTICULARS befow.}

 

 

 

 

 

 

 

 

 

 

Name | No. Emptoyeas, Mambars Phone Ne. finclude Area Code)

Corporation for Supportive Housing 100+ 212-986-2966

Street Address Cece Bae oe Chy, State and ZIP Coda

50 Broadway — Ptéor, New York, NY 19604 /2006

Name No, Empioyaes, Mambers Phone No. {include Area Cada}

Straet Addrass City, State and ZIP Cade

DISCRIMINATION BASED ON {Check appropriate box(ss)} DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

race [| coLor [| sex [| RELIGION LP] NATIONAL ORIGIN 06-30-216

[| RETALIATION |x| AGE [| DISABILITY [| GENETIC INFORMATION
[| OTHER (Spacify) GONTINUING ACTION

THE PARTICULARS ARE (if additional paper is needed, altach exira shest(s)}:

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Nei
"MEW YORK DISTRICT OFFICE

 

 

 

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08 2016 ae
See Attached Pages . * = s

 

 

 

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1 want this charge filed with both the EEOC and the State or local Agency, If any. | ARY - fA a "ral for Stalg and ai Agency Requirements
wil! advise the agencies if{ change my address or phone number ane | will
cooperate fully with them In the processing of my charge in accordance with thelr
procedures, | Jee or affirm thati Lal. read the above “ je and th
at it is true {
i declare under penalty of perjury that the above Is true and correct. NI tnd best of my knowledaa, Information and beter °
ve mek cee tee pa meennt mr SHGNATURE OF G! ? wif
xX ‘SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
b Ef. Ma. ew. (month, day, year}
lea Party Signature
2) nif rbiy at
# t VUAN WY Woak

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Notary Public - Stats’ot New York

 

NEW YORK DISTRICT OFFICE suas 0twoaez0r4
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Charge of Discrimination
(Race & Age Discrimination)

I, Helen So (female/age 59), is employed by Corporation for Supportive Housing as a Senior
Accountant from February 10, 2010. I was promoted to Manager, Financial Reporting &
Budgeting in 2011 after my manager, Armine Arustamyan left. In January 2014 the manager
title was eliminated and currently I have the title of Budget Financial & Reporting Analyst. The
key role of the position is on budgeting, reporting/invoicing and all accounting functions for the
Central Region and the Community Investment Team. The Central Region consist of the Central
Admin staffs, the Illinois office, Indian office, Michigan office, Minnesota office, and the Texas

office.

In December 20, 2012-- I was called into David Provost(CFO) office to go over the accrual
revenue. Joy had everything prepared, she printed out of an excel file labeled and numbered and
with a pile of general ledger reports, [ was accused of errors that were not my fault.

January 14, 2013 - I was given a written warning/probation memo and put on a three months
probation. I got blamed for mistakes that weren't my fault as we found errors while cleaning up
old accounts and work from previous co-workers.

Then on April 2, 2013 - I was given an extended probation memo, I was put on another
probation period from 3/20/13 - 6/30/13.

April 25, 2013 - I took the day off to make arrangements for my daughter's wedding, and also
had a doctor's appointment that day. Then I got into this car accident. I feared taking off from
work as I was afraid of losing my job, because I was still on probation. It was very difficult for
me to leave early for doctor's appointments. This is the primary reason why I am still in pain,
because I didn't take care of it right away. J went to work and dealt with the pain. Last year, the
doctor took X-Rays and told me my spine & neck are crooked. Requesting time off was very
difficult even for regular doctor's appointments.

Joy gives me unrealistic deadlines to meet. There were over 41 accounts to review. She wanted
an analysis of each project and write an explanation of why it was not clean. She told me I have
to get it, ready by the 12/26/12, that's the-day after Christmas and she and I had posted in the
calendar that we will be out. I start analyzing the projects and the work is very time consuming.
I had to go back to the history of each project to see what went wrong, and to find the errors took
some time. As you can see the timeline below, I didn't even go to the holiday party, I'd stayed
behind and did work and also worked on the weekends, but still I was unabl¢ to finish, I didn't

want to do sloppy work.

   

~Fimeline -
e 12/20/12 (Thurs.) - Meeting with David & Joy. The memo said Dec, 18, which is wrong.
Thurs was 12/20/12.
e 12/21/12 (Fri.) - Holiday Party (Stayed and worked. Everyone in the office went to

 

 

the holiday party except me. I felt I'm being punished. (FRU EMPLONINENT OPPORTUNTY COMMISSION |
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e 12/24/12 (Mon.) - Half Day ( Office closed at 2pm)

® 12/25/12 (Tue.) - Christmas Day (Office closed)

* 12/26/12 (Wed.) - Personal Day ( Joy, Deepa and I took off the day after Christmas).
‘Time off was posted on the Finance calendar.
I felt a lot of pressure. I decided not to go to the holiday party so I can continue my work
because of this ridiculous deadline. Later I found out that Joy wanted me to go over the
spreadsheet with her before she met with David. The appointment was on 12/28/12, I
rushed like crazy so I could finish this on time, I went to David on this and he said he
knows that it is a lot and to do what I can for the meeting. I got written up for this
because of this unrealistic deadline,

Joy is constantly looking for me to make mistakes. She would blame me for things that's
not my fault.

March 8, 2013 - Meet with Yvonne Bennett (Account Manger) & Joy to go over grant releases
in Joy's office. Joy kept saying that it could be my mistake that Yvonne and my numbers don’t
match. Yvonne said it’s more likely that it is her mistake because her data are manually entered,
and my numbers run from a query from Financial Edge. (My data is from the system so I have to
match Yvonne's number and there were discrepancy, so we have to see why, but right away Joy
insisted that it was my mistake.) Joy is looking for me to make mistakes. She is giving me a lot
of pressure, Joy kept insisting that it was my mistake,

Later I went to Yvonne’s office and she told me that she noticed that Joy kept insisting that it
was my mistake, and that wasn't right.

January 21, 2015 - Joy asked me to post a GL entry for the accrual pension expenses. She gave
me the amount to enter, it was for $101,713.26 for the pension accrual, so I entered it and later
she came out of her office and said I made a mistake, and that I entered it twice. I looked
confused, I told her that I just did what you told me and just entered it, how can it be twice. It
was close to 5:00pm so Joy left. I did a little research and realized that Malika Edinborough
(Junior Accountant) had entered the same amount the day before. I then sent Joy an email and
explained to her that Malika had entered this yesterday. Her batch number was #427, and my
batch was #443., and so I have to do a reversed entry. The next day Joy wrote on the GL sheet
that it was a double entry made by Malika & Helen and signed it. She's always blaming -
someone else for her mistake. I did not even get an apology or anything. I don't understand how
someone can forget a posting of such a large amount, and especially it was only a day ago, not
like it was a month or two months ago.

November 15, 2015 - Joy had asked me to start working on the budget summary link on

_ Moriday, TI/T6/15S, she said she has a meéting with David Git Tiésday 11/17/15 to g6 oVer the ~
budget summary. J took it upon myself and worked on the budget summary early. I started
working on the link on Thursday, 11/12/15, so that if there are mistakes I would have time to fix
it. She said there are still changes in the budget so I should wait till Monday to start to work on
it. The sheets are link so if they make changes on the budget sheets it would make changes on
my summary sheets. Luckily I took it upon myself and started on the beds pisrremaaa: lin
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early. This is the first time since I worked here at CSH that the budget summary sheets were
prepared so early. Otherwise, I would get blamed for it if it was late.

I feel there is age discrimination against me, because there was an incident I was at Joy's office
and she said to give Deepa something to do and she stated that Deepa's young. (I don't
understand how those two are relevant)

June § -10, 2015(Staff Retreat)

At the Staff Retreat dinner at ACE Eat and Serve - 6:30pm

Sitting at the table was Joy and next to her was Betsy Bentio (Director for the Mlinois office).
Opposite to her and Betsy, was me, Deepa, Tanuja and Rosa. It was a big table (Ping Pong
table) with others around but I don’t think they heard. Joy said to Betsy "There's one person here
in my department that's older than me". Betsy gave alook and Joy said it again, she wanted
Betsy to guess, so I kind of think it's very obvious that it's me. I felt that, it was really necessary,
and she made me feel very uncomfortable. I feel it was very inappropriate for her to discuss my
age.and single me out in such a manner.

And then before Deepa joined CSH, there a was a Chinese lady that came to apply for the
position. Yvonne Bennett liked her and said she would worked out well. At that time we were
using Access and Yvonne said she has the skill. Joy made a face and at that moment I feel she
did not like her because she-is Chinese. I'm Chinese and J always felt that I was always treated
differently. I don't know what other reason that would make her dislike me. That why she is
always criticizing me, treating me unfairly, and constantly singling me out and picking on me.
I know she wants to bring in her own people to work at CSH, because Deepa had told me she
‘worked with Joy before from her previous job. I don't think Joy treated the other candidates
equally, she did not give them a fair chances.

I don't understand what other reason she has against me. Joy wants me to leave and she is
making it very difficult for me to work in such an environment. I was so depressed I even went
therapy for my depression. I told my therapist that I really like my job and it was only the
supervisor that was giving me a hard time. I enjoy my job. I like CSH, and I was planning to
work here till retirement. My therapist asked me to weight it agaist everything else, and so |
_stayed and tolerated with the abuse because I wanted to keep my job I didn't want to leave. This
time is different, with the additional workload, I will not be able to perform gi®ttivéliag fathis
will be the reason to get me to leave. ed ee af

     

March 2, 2016, my request for PTO was approved and they attached a memo along with the
email.

oo wenn A DEL2Z9, 2016, Eve wrote smy-comments.to-the PTO request Meme © em mee
May 6, 2016, Joy sent me & Deepa an email and started that starting July 1st, Ohio will be my
responsibility. I sent Joy an email and did some analysis on all the active projects. I wanted to
show them that my workload is extremely heavy. The workload is not distributed evenly among
the four analysts and with the additional Ohio location, I will have over 70 grants/contracts (not

counting general). EQUAL EMPLOVMENT OPPORTUNITY COMMISSION
NEW YORK DISTRICT OFFICE

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I feel I am single out because there are incidents when we need to call our consultant with help
on the implementation of our accounting system. All the other analysts can just pick up the
phone and call Bryan, while I have to get permission to make a call. Joy told me several times
not to call Bryan, but I see the others can just pick up the phone and call him. She does not want
me to learn so that I will fail. She also gives me unrealistic deadlines to meet so that I will fail

(as stated above).

L have been treated differently by Corporation for Supportive Housing and subjected to different
term & conditions of employment on the basic of my race and age, in violations of Title VI of
the Civil Rights Act of 1964 and the Age Discrimination in Employment Act of 1967.

I swear or affirm that under the penalty of perjury that I have read the above charge of
discrimination and that it is true and correct to the best of my knowledge, information and belief.

   

EGUAL EMPLOYMENT OPPORTURITY COMI
NEW YORK DISTRICT Office

X Glu SZ JUL 08 2016
Vor Signature DATE RECEIVED|

 

 

 

 

 

 

 

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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

New York District Office
33 Whitehall Street, 5" Floor
New York, N¥ 10004-2112
District Office: (212) 336-3620

Ashraf Ahmed TTY (212) 336-3622
Federal Investigator. .

 

Ms. Helen So
117 Birch Road
Staten Island, New York 10303

Re: Sov, Corporation For Supportive Housing
EEOC Charge No. 520-2016-02257

Dear Ms. So:

The U.S. Equal Employment Opportunity Commission (hereinafter referred "Commission") has reviewed
above-captioned job discrimination complaint according to case prioritization procedures surrounding
open investigations. Consequently, the Commission focuses available staff resources only on those
cases most likely to result in violation determination(s) of laws it enforces.

In accordance with such standards, the Commission evaluated said charge based upon factual
information and/or investigative evidence collected. Pursuant fo this evaiuation, the Commission can not
conclude that you were subjected to an adverse employment action (i.e., extended probationary period)
motivated by discriminatory animus as defined under the Commission's guidelines and federal law.

in sum, the charge alleges that Respondent, Corporation For Supportive Housing, discriminated against
you on account of age (now 59) and race (Asian) nexus to both assignments of unmanageable project ©
deadlines along with being issued “performance warnings’ since 2013,

Based on an analysis.and assessment of relevant submitted information, including human resources files,
the Commission is unable to conclude that a violation of Federal law on the part of Respondent occurred,
This does not certify Respondent complies with applicable anti-discrimination statutes; no finding is made
as fo’any other issue that might be construed as having been raised by this charge. Notably, to date, you
continue to be gainfully-employed therein at the capacity of full-time Financial Reporting Analyst.

Therefore, the complaint is hereby dismissed in its entirety. Attached is "Dismissal and Notice of Rights,”
affording an opportunity for a private lawsuit. If you wish to pursue matter further in Federal District court,

the lawsuit must be filed within 90 days of Notice’s receipt.

In the Interim, should questions arise regarding the aforesaid, kindly feel free to contact investigator
Ashraf Ahmed directly via telephone, (212) 336 - 3781.

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EEOC Form 161 (11/46) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

_ DISMISSAL AND NOTICE OF RIGHTS

 

To: Helen So . From: New York District Office

117 Birch Road 33 Whitehall Street

Staten Island, NY 10303 5th Floor

, New York, NY 10004
[| On behalf of person(s) aggrieved whose jdeniity is
CONFIDENTIAL (29 CFR §1601.7(a)}
EEOC Charge Ne. , EEOC Representative Telephone No,
. Ashraf Ahmed,

§20-2016-02257 , Investigator {212) 336-3784

 

THE EEOC IS CLOSING [TS FILE ON THIS CHARGE FOR THE FOLLOWING REASON: ~
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs fess than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely - filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent fs in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

BR UOOU

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Uo

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this.form.)

Title VU, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Empioyment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA); EPA suits must be filed in federal or state court within 2 years (3 years for willfu! violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

 

On befbif of the Commission
L£— Sy Shan
Enclosures(s) a Kevin J. Betty) 7 (Date Mailed)
District Dire

co.

CORPORATION FOR SUPPORTIVE HOUSING
61 Broadway

Suite 2300

New York, NY 10006
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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION...) RTH “ey
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New York, N.Y. 10004

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